
KELLUM, Judge,
concurring specially.
I write specially to note that this action appears to be Robert Gill’s eighth Rule 32, Ala. R.Crim. P., petition challenging his 1996 conviction for first-degree robbery *399and his resulting sentence as a habitual felony offender to life imprisonment without the possibility of parole. I believe that allowing Gill to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir.1986), to prevent future frivolous litigation on the part of Gill and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim.App.2009).
